                  Case 1:18-cv-02809-DKC Document 188 Filed 08/30/22 Page 1 of 2
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                                                          August 30, 2022

              VIA ELECTRONIC FILING
              The Honorable Deborah K. Chasanow
              United States District Court
              for the District of Maryland
              6500 Cherrywood Lane
              Greenbelt, Maryland 20770

                       Re:      Anna Borkowski v. Scott Shellenberger, et al.
                                Case No. 1:18-cv-02809


              Dear Judge Chasanow,

                     Please be advised that the parties have settled this case. The
              settlement is contingent upon approval of the Board of Public Works
              (BPW). I anticipate consideration by the BPW at its meeting on October
              12, 2022.

                     Under the terms of the settlement, all claims of Ms. Borkowski
              shall be dismissed with prejudice. This includes claims for attorneys’ fees
              and expenses.

                     This settlement does not impact the appellate rights of the
              individuals whose claims were dismissed (ECF 103).




                       Thank you for your courtesy.

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           Consumer Complaints and Inquiries (410) 528-8662  Health Advocacy Unit/Billing Complaints (410) 528-1840
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 Case 1:18-cv-02809-DKC Document 188 Filed 08/30/22 Page 2 of 2




                             Respectfully yours,

                             /s/ Wendy L. Shiff

                             Wendy L. Shiff
                             Assistant Attorney General

cc: all counsel
